-6&$1' 5HY          Case 3:23-cv-04013-JCS                                         Document 1-1                                  Filed 08/08/23                                           Page 1 of 1
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                                                                                                                     United States Department of Defense; Lloyd J. Austin, Secretary of United States Department of Defense, official capacity; Christine Wormuth, Secretary of United States
  Sherrill Farrell, Steven Egland, James Gonzales, Julianne "Jules" Sohn, Stephan "Lilly" Steffanides                Army, official capacity; Carlos Del Toro, Secretary of United States Navy, official capacity; Frank Kendall, Secretary of United States Air Force, official capacity



      E &RXQW\RI 5HVLGHQFHRI)LUVW/LVWHG 3ODLQWLII                Guadalupe County, Texas                              &RXQW\ RI5HVLGHQFHRI)LUVW/LVWHG'HIHQGDQW                                                       Washington D.C.
            (EXCEPT IN U.S. PLAINTIFF CASES)                                                                              (IN U.S. PLAINTIFF CASES ONLY)
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      F      $WWRUQH\V(Firm Name, Address, and Telephone Number)                                                         $WWRUQH\V(If Known)

 See attachment
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                         United States Constitution, Fifth and Fourteenth Amendments
              $&7,21
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                                  Defendants discharged Plaintiffs under Don't Ask Don't Tell and its predecessor discriminatory policies and have failed to remedy the discriminatory consequences of those policies.


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